ORIGINAL

UNITED STATES BANKRUPTCY COURT

FOR THE DISTRICT OF DELAWARE

IN RE: : Chapter 11
W.R. GRACE & CO., et al.; : Case No. 01-01139 (JJF)
Debtors. : Jointly Administered

VERIFIED STATEMENT PURSUANT TO RULE 2019 OF
THE FEDERAL RULES OF BANKRUPTCY PROCEDURE
CONCERNING MULTIPLE REPRESENTATION OF PARTIES IN INTEREST

Jacobs & Crumplar, P.A. pursuant to Rule 2019 of the Federal
Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), files
this statement in connection with its representation of several
creditors and/or parties in interest in the above-captioned cases
of the debtors and debtors in possession (the “Debtors”) and
respectfully states as follows:

1. Name and address of parties in interest represented by

Jacobs & Crumplar;

Jacobs & Crumplar represents parties in interest in the
above-captioned Chapter 11 cases as listed in “Exhibit A” which
is attached.

2. The nature and amount of the claims or rights of the

parties in interest in terms of acquisition thereof;

Each of the parties claims and rights involve exposure
to asbestos products in various claim demands.

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Bo Pertinent facts and circumstances in connection with / 4)
‘by

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Case 01-01139-AMC Doc 144 Filed 04/24/01 Page 2of11

the employment of Jacobs & Crumplar;

The parties in interest are represented by Jacobs &

Crumplar pursuant to contingency fee agreements. A sample of

such an agreement is attached as “Exhibit B”.

Ae. Claims or interests owned by Jacobs & Crumplar.

Jacobs & Crumplar does not personally own, nor has it

previously owned any claims or interests against the debtors.

Date:

Respectfully submitted, this 24 day of April, 2001.

Hof,

By:

JACOBS & CRUMPLAR, P.A.

244)
in (#2989)

Robert Jacob
Marla Rosoff
2 Fast 7" streét

P.O. Box 1271

Wilmington, DE 19899

(302) 656-5445
Attorney for Plaintiffs

bankruptcies\wrgraceverifiedstatment .mre
; Case 01-01139-AMC Doc144 Filed 04/24/01 Page 3of11

VERIFICATION OF JACOBS & CRUMPLAR, P.A.

I, Marla Rosoff Eskin, declare under penalty of perjury that
I have read the full foregoing statement and that is true and

correct to the best of my knowledge, information and belief.

Case 01-01139-AMC Doc 144 Filed 04/24/01 Page 4of11

IN THE UNITED STATES BANKRUPTCY COURT

FOR THE DISTRICT OF DELAWARE

IN RE
Chapter 11
W.R. GRACE & CO., et al.;
Case No. 01-01139 (JUF)

Debtors.

AFFIDAVIT OF SERVICE

on novi G4 2001, personally appeared before me,
Rebecca Strauss, who by me being duly sworn did depose and say
that a copy of the foregoing VERIFIED STATEMENT PURSUANT TO RULE
2019 OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE CONCERNING
MULTIPLE REPRESENTATION OF PARTIES IN INTEREST was mailed and/or
hand-delivered the day and year aforesaid to the following
attorneys:

TO: SEE ATTACHED LIST

Relieves eriunao?

Rebecca Strauss

SWORN TO AND SUBSCRIBED before me this aft day of April

200: Aa Di:

13-0

Notary

SUZANNE M. WHAM
NOTARY PUBLIC-DELAWARE
My Commission Expires July 15, 2003

Case 01-01139-AMC Doc 144 Filed 04/24/01

Service List for W.R. Grace & Co.

Laura Davis Jones, Esq.

Pachulski, Stang, Ziehl, Young & Jones, P.C.
919 North Market Street, Suite 1600

P.O. Box 8705

Wilmington, DE 19899

James Sprayregen, Esq.
Kirkland & Ellis

200 East Randolph Drive
Chicago, IL 60601

Wachtell, Lipton, Rosen & Katz
51 West 52" Street
New York, NY 10019-6150

Frank J. Perch, III, Esq.
Office of the United States Trustee
601 Walnut Street, Suite 950 West
Philadelphia, PA 19106

Peter Van N. Lockwood, Esq.
Julie Davis, Esq.

Caplin & Drysdale, Chartered
One Thomas Circle, N.W.
Washington, D.C. 20005

Elihu Inselbuch, Esq.

Rita C. Tobin, Esq.

Caplin & Drysdale, Chartered
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New York, NY 10022

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Matthew G. Zaleski, esq.
Ashby & Geddes

222 Delaware Avenue
P.O. Box 1150
Wilmington, DE 19899

Page 5 of 11
Case 01-01139-AMC Doc144 Filed 04/24/01 Page 6of11

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Case 01-01139-AMC Doc 144 Filed 04/24/01 Page 7 of11

Client

S.S #

Allston, Norbert
174-26-664
Ashcraft, Leon
XXX-XX-XXXX
Baker, Ivan
XXX-XX-XXXX
Banning, William
XXX-XX-XXXX
Barsky, Harry
XXX-XX-XXXX
Brewster, Howard
XXX-XX-XXXX
Casarino, Peter
XXX-XX-XXXX
Cash, John
XXX-XX-XXXX
Currinder, Vaughn
XXX-XX-XXXX
Dimatteo, Gerald
XXX-XX-XXXX
Edwards, William
XXX-XX-XXXX
Elwood, James
XXX-XX-XXXX
Farrall, Thomas
XXX-XX-XXXX
Henry, Wilson
XXX-XX-XXXX
Henson, Bert
XXX-XX-XXXX

Hill, Russell
XXX-XX-XXXX
Kline, Edward
XXX-XX-XXXX
Kowalewski, Edward
XXX-XX-XXXX
Marchese, Anthony
XXX-XX-XXXX

W.R.

CA.

96C-08-244
00C-08-139
97C-04-098
99C-04-005
00C-07-185
99C-02-277
99C-06-077
00C-04-162
01C-02-042
99C-02-174
99C-09-038
97C-06-032
98C-06-324
99C-10-208
00C-11-261
98C-06-043
96C-03-115
97C-05-184

97C-11-127

Exhibit A

race Compan

Address

4729 Bermuda Way N, Myrtle Beach,
SC 29577-5429
168 Landside Ln. Elkton, MD 21921

RR 3 Box 185-14 Georgetown, DE
19947
Box 72 Rd 4 Georgetown, DE 19947

P.O. Box 5866 Newark, DE 19714
409 S Lake Dr. Milton, DE 19968
103 Yearsley Dr. Wilm., DE 19080
163 Access Rd. Oxford, AL 36203
128 Garwood Dr. Bear, DE 19701

310 Rehobeth Ave Rehobeth, DE
19971

931 Mulberry Ct. Middletown, DE
19709

12 Wellesley Ct. New Castle, DE
19720

318 Calvin St. Harrington, DE 19952

1563 John Adams Ct. Mays Landing,
NJ 08330
2141 Lori Drive,Wilm, DE 19808

46 Robinson Dr. New Castle, DE
19720
P.O. Box 183 Hartley, DE 19953

1501 Willis Pl. Cleland Heights
Wilm., DE 19805
509 6" Ave Wilm., DE 19808

Case 01-01139-AMC Doc 144 Filed 04/24/01 Page 8of11

McLaughlin, Paul
XXX-XX-XXXX
Moroski, Richard
XXX-XX-XXXX
Pankiw, Peter
XXX-XX-XXXX
Penrod, John
XXX-XX-XXXX
Pienkos, Stanley
XXX-XX-XXXX
Porter, Harold
XXX-XX-XXXX
Russell, John
XXX-XX-XXXX
Smith, Rodney
XXX-XX-XXXX
Smith, Sandy
XXX-XX-XXXX
Steltzer, Arthur
XXX-XX-XXXX
Stewart, Wyloidine
XXX-XX-XXXX
Waller, Paul
XXX-XX-XXXX

Charlene\WRGrace rp

00C-09-161

99C-03-200

00C-07-009

98C-05-136

96C-06-216

97C-11-228

96C-03-106

00C-05-099

00C-09-100

99C-12-254

96C-01-142

98C-06-325

3826 E. Everett Dr. Phoenix, AZ
85032

309 Pennewill Dr. New Castle, DE
19720

218 8S Avon Dr. Claymont, DE
19703

922 Wilson Dr. Dover, DE 19904

113 Admiral Dr., Wilm., DE 19804
10 N. Carolina Ave. Milton, DE
19968

2350 Overlook Dr. Wilm., DE 19810
932 Kelly Ave. Woodlyn, PA 19094
934 10" Ave. Wilm., DE 19808
2424 Thornhill Ave Tifton, GA
31794

121 Atlas Dr. New Castle, DE 19720

8 Park Ln. Elkton, MD 21921
Case 01-01139-AMC Doc 144 Filed 04/24/01 Page9of11

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Case 01-01139-AMC Doc144 Filed 04/24/01 Page 10of11

ASBESTOS RELATED INJURY

AGREEMENT BETWEEN CLAIMANT AND JACOBS & CRUMPLAR

I, , for and in consideration

of legal services rendered and to be rendered me by JACOBS &
CRUMPLAR, P.A., attorneys, in the handling of a certain cause of
action or claim for damages owned by me against any and all
persons, firms or corporations legally responsible to me for
injuries and damages sustained by me by virtue of exposure to
asbestos, have transferred, sold and assigned and by these
presents do hereby transfer, sell and assign an undivided thirty-
three and one third (33 1/3) of my said cause of action against
said person(s) so responsible to me, and I hereby contract and
agree to pay to said attorneys the above percentages of all sums
collected by me on said cause of action or claim for damages,
whether such sums so collected be received by settlement or
litigation.

I further hereby contract and agree to reimburse my
attorneys out of any net recovery they obtain for me in this or
any other personal injury action they are handling on my behalf,
all expenses incurred by them, including costs of Court.

I further understand that if my attorneys are unable to
obtain any recovery, I will owe them nothing for legal fees and
my attorneys will not seek to recover costs from me or my family.

I understand I have the right at anytime to discharge Jacobs
& Crumplar, P.A. and Jacobs & Crumplar, P.A., similarly has the
right to decide to discontinue and cease its representation.

Both parties agree that they will give to the other at least 30
days notice of such a decision and be willing to meet personally
with the other party before the decision becomes final.

I further agree that if I should ever discharge my attorneys
or if the attorney/client relationship with Jacobs & Crumplar,
P.A. should end for any reason, my attorney will have a valid
lien on any recovery, however obtained, to recover costs expended
by them and for the value of their legal service. It is agreed
this lien shall have priority in payment.

I further understand that if, after a claim has been filed,

I, contrary to the advise of my attorney, decide not to settle
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Case 01-01139-AMC Doc144 Filed 04/24/01 Page11of11

with the final defendant in my action, my attorney will, as long
as they think they can make an ethical good faith claim, proceed
to trial and/or appeal. In such a situation, however, I will be
responsible to pay all costs incurred from the date I reject a
settlement offer against the advice of my attorney, even if there
is no recovery and I may be required to pay them in advance.

I do further hereby constitute and appoint said attorneys
and/or their designees to do any and all acts which in their
judgment may be reasonable and necessary in the handling of my
said cause of action, the same as though such acts were actually
performed by me. It is understood and agreed, however, that no
settlement of my entire cause of action is to be made without my
consent.

It is further understood and agreed that this contract only
covers legal services performed in the asbestos lawsuit. If the
client and Jacobs and Crumplar decide to pursue any other claim
such as workmen's compensation or Social Security, it will be
subject to a separate fee agreement.

WITNESS, my hand this day of , 2001.

Accepted by:

Jacobs & Crumplar, P.A.

Witness Name

Address

( )
Telephone Number

